         Case 1:19-cv-00969-TNM Document 56 Filed 06/10/19 Page 1 of 3



                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


 UNITED STATES HOUSE OF
 REPRESENTATIVES,

                               Plaintiff,
                                                   Case No. 1:19-cv-00969
          v.

 STEVEN T. MNUCHIN, in his official                NOTICE OF APPEAL
 capacity as Secretary of the United States
 Department of the Treasury, et al.,

                               Defendants.




       PLEASE TAKE NOTICE that plaintiff the U.S. House of Representatives hereby appeals

to the United States Court of Appeals for the District of Columbia from the District Court’s

memorandum opinion and order denying the House’s application for a preliminary injunction

(ECF Nos. 54 & 55), which were issued on June 3, 2019.
        Case 1:19-cv-00969-TNM Document 56 Filed 06/10/19 Page 2 of 3



                                   Respectfully submitted,

                                   /s/ Douglas N. Letter
                                   DOUGLAS N. LETTER (D.C. Bar No. 2533492)
                                       General Counsel
                                   TODD B. TATELMAN (VA Bar No. 66008)
                                       Deputy General Counsel
                                   MEGAN BARBERO (MA Bar No. 668854)
                                       Associate General Counsel
                                   JOSEPHINE MORSE (D.C. Bar No. 1531317)
                                       Associate General Counsel
                                   KRISTIN A. SHAPIRO (D.C. Bar No. 1007010)
                                       Assistant General Counsel

                                   OFFICE OF GENERAL COUNSEL
                                   U.S. HOUSE OF REPRESENTATIVES
                                   219 Cannon House Office Building
                                   Washington, D.C. 20515
                                   Telephone: (202) 225-9700
                                   douglas.letter@mail.house.gov

                                   Counsel for Plaintiff the United States House of
                                      Representatives
June 10, 2019
         Case 1:19-cv-00969-TNM Document 56 Filed 06/10/19 Page 3 of 3



                                 CERTIFICATE OF SERVICE

       I hereby certify that on June 10, 2019, I caused the foregoing document to be filed via the

U.S. District Court for the District of Columbia’s CM/ECF system, which I understand caused a

copy to be served on all registered parties.



                                                        /s/ Douglas N. Letter
                                                        Douglas N. Letter
